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NAME              Anderson, Allen               SHERLOCK_SPECIALTY        SOR

PRESCRIBER_ID     32422275                      AMA_SPECIALTY


SALES CALLS


 CALL_DATE                   11/8/2000    CALL_ID           455311037            CALL_TYPE       Detail and Starter


 TERRITORY                T3CU1             REP_NAME            Pippin, Ashley      CALL_ADDRESS:       St Thomas Medl Bg
                                                                                                        Nashville, TN 37205


 CALL_NOTES                                             AE_NOTES                                        MI_NOTES


SAMPLES
   CALL_DATE         CALL_ID                     CODE                  FORMULATION                     QUANTITY
       11/8/2000455311037                     7713        Neurontin 800mg x 3 x 6 x 12                         6
       11/8/2000455311037                     7712        Neurontin 600mg x 3 x 6 x 12                         6
       11/8/2000455311037                     7710        Neurontin 300mg x 3 x 6 x 12                        12
       11/8/2000455311037                     7709        Neurontin 100mg x 10 x 5 x 60(Uni-Dose)              5




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NAME                 Clendenin, ROBERT                SHERLOCK_SPECIALTY        PMR

PRESCRIBER_ID        23283379                         AMA_SPECIALTY             PMR


SALES CALLS


 CALL_DATE                      8/23/2002    CALL_ID              68998000095891       CALL_TYPE       Detail and Starter


 TERRITORY                  K1H12              REP_NAME               Pippin, Ashley      CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES



 CALL_DATE                      10/8/2002    CALL_ID              68998000115278       CALL_TYPE       Detail and Starter


 TERRITORY                  K1H12              REP_NAME               Pippin, Ashley      CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES
 K1H12 / had a great time at program last week with
 geldblom, said he knew his stuff


 CALL_DATE                    10/23/2002     CALL_ID              68998000124754       CALL_TYPE       Detail and Starter

 TERRITORY                  K1H12              REP_NAME               Pippin, Ashley      CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES



 CALL_DATE                      11/1/2002    CALL_ID              68998000129587       CALL_TYPE       Detail and Starter


 TERRITORY                  K1H12              REP_NAME               Pippin, Ashley      CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                 AE_NOTES                                          MI_NOTES




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NAME              Clendenin, ROBERT             SHERLOCK_SPECIALTY        PMR

PRESCRIBER_ID     23283379                      AMA_SPECIALTY             PMR



 CALL_DATE                   12/3/2002    CALL_ID           68998000145968        CALL_TYPE       Detail and Starter


 TERRITORY                K1H12             REP_NAME            Pippin, Ashley       CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                         Nashville, TN 37205


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                   1/13/2003    CALL_ID           68998000164223        CALL_TYPE       Detail and Starter


 TERRITORY                K1H12             REP_NAME            Pippin, Ashley       CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                         Nashville, TN 37205


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                   1/27/2003    CALL_ID           68998000172659        CALL_TYPE       Detail and Starter


 TERRITORY                K1H12             REP_NAME            Pippin, Ashley       CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                         Nashville, TN 37205


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                    2/4/2003    CALL_ID           10063300001303        CALL_TYPE       Detail and Starter


 TERRITORY                G3B11             REP_NAME            McLean, Deborah      CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                         Nashville, TN 37205

 CALL_NOTES                                            AE_NOTES                                          MI_NOTES



 CALL_DATE                   2/14/2003    CALL_ID           68998000180893        CALL_TYPE       Detail and Starter


 TERRITORY                K1H12             REP_NAME            Pippin, Ashley       CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                         Nashville, TN 37205


 CALL_NOTES                                            AE_NOTES                                          MI_NOTES


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NAME                 Clendenin, ROBERT                 SHERLOCK_SPECIALTY        PMR

PRESCRIBER_ID        23283379                          AMA_SPECIALTY             PMR



 CALL_DATE                      3/14/2003    CALL_ID               68998000197169       CALL_TYPE       Detail and Starter


 TERRITORY                  K1H12               REP_NAME               Pippin, Ashley      CALL_ADDRESS:       4230 Harding Road: Suite #1000
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES



 CALL_DATE                      6/17/2003    CALL_ID               23648500002132       CALL_TYPE       Detail Only


 TERRITORY                  3NR11M13            REP_NAME               3NR11M13, Vacant    CALL_ADDRESS:       4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES



 CALL_DATE                      6/30/2003    CALL_ID               23648500003267       CALL_TYPE       Detail and Starter


 TERRITORY                  3NR11M13            REP_NAME               3NR11M13, Vacant    CALL_ADDRESS:       4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Likes to push Neu. dose to a mimimun of 2,400mg.


 CALL_DATE                       7/7/2003    CALL_ID               25318000000158       CALL_TYPE       Detail and Starter


 TERRITORY                  3NU11M13            REP_NAME               3NU11M13, Vacant    CALL_ADDRESS:       4230 Harding Pike
                                                                                                               Nashville, TN 37205

 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Got a great detail with Dr Clendenin today. He was glad to
 here about Relpax as a better option for his patients.




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NAME                  Clendenin, ROBERT                 SHERLOCK_SPECIALTY      PMR

PRESCRIBER_ID         23283379                          AMA_SPECIALTY           PMR



 CALL_DATE                         7/21/2003    CALL_ID             25318000001159     CALL_TYPE       Detail and Starter


 TERRITORY                    3NU11M13            REP_NAME              3NU11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                     AE_NOTES                                      MI_NOTES
 Dr Clendenin says that he really likes to use Neurontin and
 has had great patient success.


 CALL_DATE                         7/28/2003    CALL_ID             23648500005538     CALL_TYPE       Detail Only


 TERRITORY                    3NR11M13            REP_NAME              3NR11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                     AE_NOTES                                      MI_NOTES
 Likes to start with Neu. 100's.


 CALL_DATE                          8/4/2003    CALL_ID             25318000002350     CALL_TYPE       Detail and Starter


 TERRITORY                    3NU11M13            REP_NAME              3NU11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                     AE_NOTES                                      MI_NOTES
 Dr Clendenin reinforced his great experience with Neurontin.


 CALL_DATE                         8/15/2003    CALL_ID             23648500007580     CALL_TYPE       Detail and Starter


 TERRITORY                    3NR11M13            REP_NAME              3NR11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                              Nashville, TN 37205

 CALL_NOTES                                                     AE_NOTES                                      MI_NOTES
 Discussion about pricing.


 CALL_DATE                         8/27/2003    CALL_ID             23648500008441     CALL_TYPE       Detail and Starter


 TERRITORY                    3NR11M13            REP_NAME              3NR11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                              Nashville, TN 37205

 CALL_NOTES                                                     AE_NOTES                                      MI_NOTES
 Said he doesn't even use the 100's at all.
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NAME                 Clendenin, ROBERT                   SHERLOCK_SPECIALTY      PMR

PRESCRIBER_ID        23283379                            AMA_SPECIALTY           PMR



 CALL_DATE                        9/3/2003    CALL_ID                25318000004906     CALL_TYPE       Detail and Starter


 TERRITORY                  3NU11M13             REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                      AE_NOTES                                      MI_NOTES
 Dr Clendenin says that he uses Neurontin for his pain
 patients 1st line to reduce Narcotic use.


 CALL_DATE                       9/15/2003    CALL_ID                25318000005938     CALL_TYPE       Detail and Starter


 TERRITORY                  3NU11M13             REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                      AE_NOTES                                      MI_NOTES
 Dr Clendenin really likes Neurontin and uses frequently


 CALL_DATE                       9/29/2003    CALL_ID                25318000006963     CALL_TYPE       Detail and Starter


 TERRITORY                  3NU11M13             REP_NAME                3NU11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                      AE_NOTES                                      MI_NOTES
 Dr Clendenin is using more Neurontin now


 CALL_DATE                       10/6/2003    CALL_ID                23648500011868     CALL_TYPE       Detail and Starter


 TERRITORY                  3NR11M13             REP_NAME                3NR11M13, Vacant   CALL_ADDRESS:      4230 Harding Pike
                                                                                                               Nashville, TN 37205

 CALL_NOTES                                                      AE_NOTES                                      MI_NOTES
 Neurontin safety discussion - he feels there is no safer drug
 on the market.




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NAME                   Clendenin, ROBERT               SHERLOCK_SPECIALTY       PMR

PRESCRIBER_ID          23283379                        AMA_SPECIALTY            PMR



 CALL_DATE                       10/20/2003       CALL_ID          23648500013378       CALL_TYPE       Detail and Starter


 TERRITORY                    3NR11M13             REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:       4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Neurontin cost discussion.


 CALL_DATE                       11/14/2003       CALL_ID          28487400000180       CALL_TYPE       Detail and Starter


 TERRITORY                    3NU22B13             REP_NAME            Hardin, Robert      CALL_ADDRESS:       4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES



 CALL_DATE                         12/1/2003      CALL_ID          27781200000485       CALL_TYPE       Detail and Starter


 TERRITORY                    3NU22B53             REP_NAME            Ross, Janet         CALL_ADDRESS:       4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 Still believes that Neu. is the gold standard.


 CALL_DATE                         12/8/2003      CALL_ID          28487400000464       CALL_TYPE       Detail and Starter


 TERRITORY                    3NU22B13             REP_NAME            Hardin, Robert      CALL_ADDRESS:       4230 Harding Pike
                                                                                                               Nashville, TN 37205

 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES



 CALL_DATE                       12/15/2003       CALL_ID          27781200000862       CALL_TYPE       Detail and Starter


 TERRITORY                    3NU22B53             REP_NAME            Ross, Janet         CALL_ADDRESS:       4230 Harding Pike
                                                                                                               Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                         MI_NOTES
 He said he wrote 3 Neu. this morning.

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NAME                 Clendenin, ROBERT                  SHERLOCK_SPECIALTY       PMR

PRESCRIBER_ID        23283379                           AMA_SPECIALTY            PMR



 CALL_DATE                     12/22/2003     CALL_ID               28487400000743       CALL_TYPE       Detail Only


 TERRITORY                  3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:       4230 Harding Pike
                                                                                                                Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES



 CALL_DATE                        1/5/2004    CALL_ID               28487400000781       CALL_TYPE       Detail and Starter


 TERRITORY                  3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:       4230 Harding Pike
                                                                                                                Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES



 CALL_DATE                      1/12/2004     CALL_ID               27781200001325       CALL_TYPE       Detail and Starter


 TERRITORY                  3NU22B53            REP_NAME                Ross, Janet         CALL_ADDRESS:       4230 Harding Pike
                                                                                                                Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES
 Discussed formulary positioning with Neurontin.


 CALL_DATE                      1/19/2004     CALL_ID               28487400001153       CALL_TYPE       Detail and Starter


 TERRITORY                  3NU22B13            REP_NAME                Hardin, Robert      CALL_ADDRESS:       4230 Harding Pike
                                                                                                                Nashville, TN 37205

 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES



 CALL_DATE                      1/26/2004     CALL_ID               27781200001771       CALL_TYPE       Detail and Starter


 TERRITORY                  3NU22B53            REP_NAME                Ross, Janet         CALL_ADDRESS:       4230 Harding Pike
                                                                                                                Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES
 L- doesn't have any hesitation in using Neurontin with any
 patients, seems to get to a pretty good dose.
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NAME                  Clendenin, ROBERT               SHERLOCK_SPECIALTY       PMR

PRESCRIBER_ID         23283379                        AMA_SPECIALTY            PMR



 CALL_DATE                         2/2/2004    CALL_ID            28487400001427       CALL_TYPE       Detail and Starter


 TERRITORY                   3NU22B13             REP_NAME            Hardin, Robert      CALL_ADDRESS:       4230 Harding Pike
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES



 CALL_DATE                       2/16/2004     CALL_ID            28487400001978       CALL_TYPE       Detail and Starter


 TERRITORY                   3NU22B13             REP_NAME            Hardin, Robert      CALL_ADDRESS:       4230 Harding Pike
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES



 CALL_DATE                         4/2/2004    CALL_ID            28487400002645       CALL_TYPE       Detail and Starter


 TERRITORY                   3NU22B13             REP_NAME            Hardin, Robert      CALL_ADDRESS:       4230 Harding Pike
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES



 CALL_DATE                         5/3/2004    CALL_ID            27781200004083       CALL_TYPE       Detail and Starter


 TERRITORY                   3NU22B53             REP_NAME            Ross, Janet         CALL_ADDRESS:       4230 Harding Pike
                                                                                                              Nashville, TN 37205

 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 A- agreed to use the split tabs when starting pts.


 CALL_DATE                       5/21/2004     CALL_ID            27781200004901       CALL_TYPE       Detail and Starter


 TERRITORY                   3NU22B53             REP_NAME            Ross, Janet         CALL_ADDRESS:       4230 Harding Pike
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES


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NAME              Clendenin, ROBERT      SHERLOCK_SPECIALTY   PMR

PRESCRIBER_ID     23283379               AMA_SPECIALTY        PMR

SAMPLES

   CALL_DATE         CALL_ID              CODE                  FORMULATION             QUANTITY
       8/23/200268998000095891         7715        Neurontin 100mg x 3                         72
       8/23/200268998000095891         7710        Neurontin 300mg x 3                         72
       10/8/200268998000115278         7715        Neurontin 100mg x 3                         72
       11/1/200268998000129587         7710        Neurontin 300mg x 3                         72
       1/13/200368998000164223         7710        Neurontin 300mg x 3                         72
        2/4/2003100633000013037        7712        Neurontin 600mg x 3                         18
        2/4/2003100633000013037        7710        Neurontin 300mg x 3                         12
       2/14/200368998000180893         7715        Neurontin 100mg x 3                         24
       6/30/2003236485000032675        7710        Neurontin 300mg x 3                         48
        7/7/2003253180000001583        7715        Neurontin 100mg x 3                          6
       7/21/2003253180000011596        7710        Neurontin 300mg x 3                          6
        8/4/2003253180000023506        7710        Neurontin 300mg x 3                         24
       8/15/2003236485000075800        7712        Neurontin 600mg x 3                         24
       8/27/2003236485000084411        7712        Neurontin 600mg x 3                          6
        9/3/2003253180000049064        7715        Neurontin 100mg x 3                          6
       9/15/2003253180000059389        7715        Neurontin 100mg x 3                          3
       9/29/2003253180000069633        7715        Neurontin 100mg x 3                          3
       10/6/2003236485000118682        7710        Neurontin 300mg x 3                         12
      10/20/2003236485000133787        7713        Neurontin 800mg x 3                         12
      11/14/2003284874000001804        7715        Neurontin 100mg x 3                         12
       12/1/2003277812000004852        7715        Neurontin 100mg x 3                          6
       12/8/2003284874000004644        7710        Neurontin 300mg x 3                          3
      12/15/2003277812000008624        7712        Neurontin 600mg x 3                          6
        1/5/2004284874000007813        7715        Neurontin 100mg x 3                          3
       1/12/2004277812000013259        7712        Neurontin 600mg x 3                         24
       1/19/2004284874000011535        7713        Neurontin 800mg x 3                          6
       1/26/2004277812000017717        7713        Neurontin 800mg x 3                          6
        2/2/2004284874000014279        7715        Neurontin 100mg x 3                          6
       2/16/2004284874000019781        7710        Neurontin 300mg x 3                          6
        4/2/2004284874000026458        7710        Neurontin 300mg x 3                         12
        5/3/2004277812000040835        7715        Neurontin 100mg x 3                         18
        5/3/2004277812000040835        7712        Neurontin 600mg x 3                         24
       5/21/2004277812000049013        7715        Neurontin 100mg x 3                          6

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NAME              Clendenin, ROBERT      SHERLOCK_SPECIALTY   PMR

PRESCRIBER_ID     23283379               AMA_SPECIALTY        PMR


   CALL_DATE         CALL_ID              CODE                  FORMULATION             QUANTITY
       5/21/2004277812000049013        7710        Neurontin 300mg x 3                          6




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NAME              Clendenin, ROBERT           SHERLOCK_SPECIALTY        SOR

PRESCRIBER_ID     32423751                    AMA_SPECIALTY


SALES CALLS


 CALL_DATE                  11/10/2000   CALL_ID          455311041            CALL_TYPE        Detail and Starter


 TERRITORY                T3CU1           REP_NAME            Pippin, Ashley      CALL_ADDRESS:        4230 Harding Road: Suite #1000
                                                                                                       Nashville, TN 37205


 CALL_NOTES                                           AE_NOTES                                         MI_NOTES


SAMPLES
   CALL_DATE         CALL_ID                   CODE                  FORMULATION                      QUANTITY
      11/10/2000455311041                   7713        Neurontin 800mg x 3 x 6 x 12                         12
      11/10/2000455311041                   7712        Neurontin 600mg x 3 x 6 x 12                         12
      11/10/2000455311041                   7710        Neurontin 300mg x 3 x 6 x 12                         18




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NAME              Nichols, J.                    SHERLOCK_SPECIALTY        PMR

PRESCRIBER_ID     23251422                       AMA_SPECIALTY             PMR


SALES CALLS


 CALL_DATE                      8/28/2002   CALL_ID          68998000099056       CALL_TYPE        Detail and Starter


 TERRITORY                K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        4230 Harding Road: Suite #1000
                                                                                                          Nashville, TN 37205


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES



 CALL_DATE                      9/11/2002   CALL_ID          68998000106790       CALL_TYPE        Detail and Starter


 TERRITORY                K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        4230 Harding Road: Suite #1000
                                                                                                          Nashville, TN 37205


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES



 CALL_DATE                      9/23/2002   CALL_ID          68998000109127       CALL_TYPE        Detail and Starter


 TERRITORY                K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        4230 Harding Road: Suite #1000
                                                                                                          Nashville, TN 37205


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES



 CALL_DATE                  10/14/2002      CALL_ID          68998000119088       CALL_TYPE        Detail and Starter


 TERRITORY                K1H12              REP_NAME            Pippin, Ashley      CALL_ADDRESS:        4230 Harding Road: Suite #1000
                                                                                                          Nashville, TN 37205


 CALL_NOTES                                             AE_NOTES                                          MI_NOTES




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NAME                  Nichols, J.                       SHERLOCK_SPECIALTY        PMR

PRESCRIBER_ID         23251422                          AMA_SPECIALTY             PMR



 CALL_DATE                      11/12/2002      CALL_ID             68998000135441       CALL_TYPE        Detail and Starter


 TERRITORY                   K1H12               REP_NAME               Pippin, Ashley      CALL_ADDRESS:        4230 Harding Road: Suite #1000
                                                                                                                 Nashville, TN 37205


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES



 CALL_DATE                          4/11/2003   CALL_ID             68998000209103       CALL_TYPE        Detail and Starter


 TERRITORY                   K1H12               REP_NAME               Pippin, Ashley      CALL_ADDRESS:        4230 Harding Road: Suite #1000
                                                                                                                 Nashville, TN 37205


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES



 CALL_DATE                          6/23/2003   CALL_ID             24309700000002       CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME               3NU11M13, Vacant    CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                                 Nashville, TN 37205


 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES
 Dr Nichols said that he uses Neurontin for his pain patients
 with success


 CALL_DATE                          6/30/2003   CALL_ID             23648500003269       CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13            REP_NAME               3NR11M13, Vacant    CALL_ADDRESS:        4230 Harding Pike
                                                                                                                 Nashville, TN 37205

 CALL_NOTES                                                     AE_NOTES                                         MI_NOTES
 Quick introduction - Neu mention.




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NAME                  Nichols, J.                          SHERLOCK_SPECIALTY      PMR

PRESCRIBER_ID         23251422                             AMA_SPECIALTY           PMR



 CALL_DATE                           7/7/2003   CALL_ID                25318000000157     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13             REP_NAME                 3NU11M13, Vacant   CALL_ADDRESS:       4230 Harding Road, Suite 1000
                                                                                                                  Nashville, TN 37205


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 As usual Dr Nichols was in a hurry but said he was using
 more Neurontin.


 CALL_DATE                          7/21/2003   CALL_ID                25318000001160     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13             REP_NAME                 3NU11M13, Vacant   CALL_ADDRESS:       4230 Harding Road, Suite 1000
                                                                                                                  Nashville, TN 37205


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 Dr Nichols stated that he uses lots of Neurontin in his
 patient population.


 CALL_DATE                          7/28/2003   CALL_ID                23648500005535     CALL_TYPE        Detail and Starter


 TERRITORY                   3NR11M13             REP_NAME                 3NR11M13, Vacant   CALL_ADDRESS:       4230 Harding Pike
                                                                                                                  Nashville, TN 37205


 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 Seems to love Neurontin but doesn't even use the 100's.


 CALL_DATE                           8/4/2003   CALL_ID                25318000002351     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13             REP_NAME                 3NU11M13, Vacant   CALL_ADDRESS:       4230 Harding Road, Suite 1000
                                                                                                                  Nashville, TN 37205

 CALL_NOTES                                                      AE_NOTES                                         MI_NOTES
 Dr Nickols seems to like Neurontin, although he is hard to
 read.




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NAME                  Nichols, J.                      SHERLOCK_SPECIALTY      PMR

PRESCRIBER_ID         23251422                         AMA_SPECIALTY           PMR



 CALL_DATE                          8/27/2003   CALL_ID            23648500008443     CALL_TYPE        Literature Drop Only


 TERRITORY                   3NR11M13            REP_NAME              3NR11M13, Vacant   CALL_ADDRESS:       4230 Harding Pike
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Dr. Nichols was at TOA today.


 CALL_DATE                          9/15/2003   CALL_ID            25318000005939     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME              3NU11M13, Vacant   CALL_ADDRESS:       4230 Harding Road, Suite 1000
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Dr Nickhols says he really likes Neruontin.


 CALL_DATE                          9/29/2003   CALL_ID            25318000006962     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME              3NU11M13, Vacant   CALL_ADDRESS:       4230 Harding Road, Suite 1000
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Dr Nichols seems to be using more Neurontin


 CALL_DATE                          10/6/2003   CALL_ID            23648500011866     CALL_TYPE        Detail Only


 TERRITORY                   3NR11M13            REP_NAME              3NR11M13, Vacant   CALL_ADDRESS:       4230 Harding Pike
                                                                                                              Nashville, TN 37205

 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Quick Neurontin mention.


 CALL_DATE                       10/13/2003     CALL_ID            25318000008286     CALL_TYPE        Detail and Starter


 TERRITORY                   3NU11M13            REP_NAME              3NU11M13, Vacant   CALL_ADDRESS:       4230 Harding Road, Suite 1000
                                                                                                              Nashville, TN 37205


 CALL_NOTES                                                  AE_NOTES                                         MI_NOTES
 Dr Nichols says that he likes Neurontin for pain and uses
 frequently
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NAME                    Nichols, J.                    SHERLOCK_SPECIALTY       PMR

PRESCRIBER_ID           23251422                       AMA_SPECIALTY            PMR



 CALL_DATE                        10/20/2003      CALL_ID          23648500013382       CALL_TYPE        Literature Drop Only


 TERRITORY                     3NR11M13            REP_NAME            3NR11M13, Vacant    CALL_ADDRESS:        4230 Harding Pike
                                                                                                                Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES
 He was not in today.


 CALL_DATE                        10/28/2003      CALL_ID          27242300000889       CALL_TYPE        Detail and Starter


 TERRITORY                     3NU11M13            REP_NAME            3NU11M13, Vacant    CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                                Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES
 Dr Nichols says he is using tons of Neurontin


 CALL_DATE                            12/1/2003   CALL_ID          27781200000487       CALL_TYPE        Detail Only


 TERRITORY                     3NU22B53            REP_NAME            Ross, Janet         CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                                Nashville, TN 37205


 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES
 Quick Neurontin mention - he wasn't seeing patients this
 morning.


 CALL_DATE                            12/8/2003   CALL_ID          28487400000465       CALL_TYPE        Detail and Starter


 TERRITORY                     3NU22B13            REP_NAME            Hardin, Robert      CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                                Nashville, TN 37205

 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES



 CALL_DATE                        12/15/2003      CALL_ID          27781200000860       CALL_TYPE        Detail Only


 TERRITORY                     3NU22B53            REP_NAME            Ross, Janet         CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                                Nashville, TN 37205

 CALL_NOTES                                                   AE_NOTES                                          MI_NOTES

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NAME                Nichols, J.                    SHERLOCK_SPECIALTY       PMR

PRESCRIBER_ID       23251422                       AMA_SPECIALTY            PMR



 CALL_DATE                    12/22/2003      CALL_ID          28487400000744       CALL_TYPE        Detail Only


 TERRITORY                  3NU22B13           REP_NAME            Hardin, Robert      CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                            Nashville, TN 37205


 CALL_NOTES                                               AE_NOTES                                          MI_NOTES



 CALL_DATE                         1/5/2004   CALL_ID          28487400000782       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B13           REP_NAME            Hardin, Robert      CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                            Nashville, TN 37205


 CALL_NOTES                                               AE_NOTES                                          MI_NOTES



 CALL_DATE                        1/12/2004   CALL_ID          27781200001323       CALL_TYPE        Detail Only


 TERRITORY                  3NU22B53           REP_NAME            Ross, Janet         CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                            Nashville, TN 37205


 CALL_NOTES                                               AE_NOTES                                          MI_NOTES
 Quick Neurontin mention.


 CALL_DATE                        1/19/2004   CALL_ID          28487400001152       CALL_TYPE        Detail and Starter


 TERRITORY                  3NU22B13           REP_NAME            Hardin, Robert      CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                            Nashville, TN 37205

 CALL_NOTES                                               AE_NOTES                                          MI_NOTES



 CALL_DATE                        1/26/2004   CALL_ID          27781200001774       CALL_TYPE        Detail Only


 TERRITORY                  3NU22B53           REP_NAME            Ross, Janet         CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                            Nashville, TN 37205


 CALL_NOTES                                               AE_NOTES                                          MI_NOTES


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NAME                  Nichols, J.                         SHERLOCK_SPECIALTY       PMR

PRESCRIBER_ID         23251422                            AMA_SPECIALTY            PMR



 CALL_DATE                          2/16/2004   CALL_ID               28487400001978        CALL_TYPE        Detail and Starter


 TERRITORY                   3NU22B13            REP_NAME                 Hardin, Robert       CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                                    Nashville, TN 37205


 CALL_NOTES                                                       AE_NOTES                                          MI_NOTES



 CALL_DATE                          4/19/2004   CALL_ID               31727400000969        CALL_TYPE        Detail Only


 TERRITORY                   3VS16A18            REP_NAME                 McLean, Deborah      CALL_ADDRESS:        4230 Harding Pike
                                                                                                                    Nashville, TN 37205


 CALL_NOTES                                                       AE_NOTES                                          MI_NOTES



 CALL_DATE                           5/3/2004   CALL_ID               27781200004081        CALL_TYPE        Detail Only


 TERRITORY                   3NU22B53            REP_NAME                 Ross, Janet          CALL_ADDRESS:        4230 Harding Road, Suite 1000
                                                                                                                    Nashville, TN 37205


 CALL_NOTES                                                       AE_NOTES                                          MI_NOTES
 A- he said he's excited about the split tabs F- cost
 information.

SAMPLES

   CALL_DATE         CALL_ID                               CODE                  FORMULATION                       QUANTITY
       9/11/200268998000106790                          7715        Neurontin 100mg x 3                                   72
      11/12/200268998000135441                          7710        Neurontin 300mg x 3                                   24
       6/23/2003243097000000028                         7712        Neurontin 600mg x 3                                   36
       6/30/2003236485000032698                         7709        Neuronin 100mg x 10 Unidose                           24
        7/7/2003253180000001572                         7715        Neurontin 100mg x 3                                    6
       7/21/2003253180000011605                         7710        Neurontin 300mg x 3                                    6
       7/28/2003236485000055358                         7710        Neurontin 300mg x 3                                   48
       7/28/2003236485000055358                         7715        Neurontin 100mg x 3                                   18
        8/4/2003253180000023515                         7710        Neurontin 300mg x 3                                   24
       9/15/2003253180000059398                         7715        Neurontin 100mg x 3                                    3
       9/29/2003253180000069624                         7715        Neurontin 100mg x 3                                    3

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NAME              Nichols, J.          SHERLOCK_SPECIALTY   PMR

PRESCRIBER_ID     23251422             AMA_SPECIALTY        PMR


   CALL_DATE         CALL_ID            CODE                  FORMULATION             QUANTITY
      10/13/2003253180000082860      7710        Neurontin 300mg x 3                          6
      10/28/2003272423000008895      7715        Neurontin 100mg x 3                          6
       12/8/2003284874000004652      7710        Neurontin 300mg x 3                          3
        1/5/2004284874000007821      7715        Neurontin 100mg x 3                          3
       1/19/2004284874000011527      7713        Neurontin 800mg x 3                          6
       2/16/2004284874000019789      7710        Neurontin 300mg x 3                          6




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